Case 1:19-cr-00386-DLF Document1 Filed 12/04/18 Page1of1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Columbia

United States of America )
v. )
Ernest Wagner
)
)
oo — )
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of 11/07/2016 to 01/31/2017 inthe county of - sin the
District of Columbia , the defendant(s) violated:
Code Section Offense Description

18 U.S.C. §§ 2252(a)(2) and (b)(1) did knowingly conspire with Jong Woo Son to knowingly distribute any visual
depiction using any means and facility of interstate and foreign commerce,
including by computer, where the visual depiction involved the use of a minor
engaging in sexually explicit conduct as defined in 18 U.S.C. § 2256(2)(A),
and such visual depiction is of such conduct.

This criminal complaint is based on these facts:

Attached affidavit (which is incorporated herein by reference)

a Continued on the attached sheet.

signed telephonically

Complainant's signature

SA Darrell Franklin, HSI

Printed name and title

bpicall9
Sworn to before me and signed fe eetonce:

Date: 12/04/2018 - fe A oy —

Judge's signature

City and state: Washington, D.C. Robin M. Meriweather, United States Magistrate Judge

Printed name and title
